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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


  VIRGINIA OLLER, ET AL                    *      MDL Docket No. 1657
           Plaintiffs                      *
                                           *      Section L
  v.                                       *
                                           *      Judge Fallon
  MERCK & CO., INC.                        *
          Defendants                       *
                                           *      Magistrate Judge Knowles
  Case No. 2:05-CV-01102                   *



  MOTION TO WITHDRAW ORIGINAL MOTION TO WITHDRAW BASED ON THE
GROUND THAT PLAINTIFF, JESSIE DOOLAN, RESPONDED TO COMMUNICATIONS
FROM COUNSEL PRIOR TO DEADLINE OF OCTOBER 30, 2008


        Comes now, counsel of record for Jessie Doolan, and files this Motion to Withdraw

original Motion to Withdraw as Counsel filed on October 21, 2008 , and states as follows:

       1. Counsel for Plaintiff seeks to withdraw original Motion to Withdraw as following the

filing of the motion Plaintiff responded to counsel and agreed to execute enrollment

documents.

        2.   Plaintiff has now submitted the required Release and enrolled in the settlement

program.

        Wherefore, counsel prays that the Court grants counsel’s request for removal of the

original Motion To Withdraw as counsel for Jessie Doolan.


                                         Respectfully submitted,

                                         s/David McMullan
                                         David McMullan
                                         BARRETT LAW OFFICE, P.A.
                                         404 Court Square North
                                         P.O. Box 987
                                         Lexington, MS 39095
                                         (662) 834-2376 (662) 834-2409 (fax)

                                 CERTIFICATE OF SERVICE
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      I, David McMullan, hereby certify that on November 6, 2008, a true copy of the

foregoing was filed electronically, and notice was sent to all parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s CM/ECF

system.



                                                s/ David McMullan
                                                Attorney for Plaintiff




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